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                                     IN THE UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                               Plaintiff,

                        v.                                CR NO: 2:22-CR-0204 WBS

DAVE GUADALUPE LOPEZ

                              Defendant.

                                  APPLICATION FOR WRIT OF HABEAS CORPUS

           The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:       David Guadalupe Lopez
Detained at             Yolo County Jail
Detainee is:            a.)    ☒ charged in this district by:      ☒ Indictment ☐ Information ☐ Complaint
                                 charging detainee with:

                                                                21 U.S.C. § 846, 841 (a)(1) - Conspiracy to Distribute and
                                                                Possess with Intent to Distribute Methamphetamine, Heroin,
                                                                and Fentanyl;
                                                                21 U.S.C. § 841(a)(1) – Possession with Intent to Distribute
                                                                Methamphetamine.
                 or     b.)      ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:          a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                 or     b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                  is currently being served at the detaining facility

                      Appearance is necessary as soon as practicable in the Eastern District of California.

                        Signature:                                /s/Robert C. Abendroth
                        Printed Name & Phone No:                  AUSA Robert C. Abendorth/916-554-2766
                        Attorney of Record for:                   United States of America
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                                             WRIT OF HABEAS CORPUS

                         ☒ Ad Prosequendum                                  ☐ Ad Testificandum

        The above application is granted and the above-named custodian, as well as any Federal Agent for this district, is
hereby ORDERED to produce the named detainee, as soon as practicable and any further proceedings to be had in this
cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.


 Dated:    October 14, 2022
                                                            Honorable Jeremy D. Peterson
                                                            U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s) (if                                                                            ☒Male      ☐Female
 Booking or CDC #:                                                                     DOB:       04/01/1972
 Facility Address:      2420 East Gibson Road,                                         Race:
                        Woodland, CA, 95776
 Facility Phone:        530-668-5245                                                   FBI#:      621619MA9
 Currently              Yolo County Jail

                                                 RETURN OF SERVICE


 Executed on:
                                                            (signature)
